Case 1:25-cr-00287-GBD Documenti0- Filed 06/25/25 P

SDNY (Rev. (2/21)
AO 98 (Rev. 12/11) Appearance Bond

UNITED STATES DISTRICT COURT

for the
Southern District of New York

United States of America )
v. )
) Case No. 25 CR 287

Ashanti Washington )
Defendant )

APPEARANCE BOND

Defendant’s Agreement

i Ashanti Washington (defendant), agree to follow every order of this court, or any

court that considers this case, and I further agree that this bond may be forfeited if] fail:
( * ) to appear for court proceedings;
{ x ) if convicted, to surrender to serve a sentence that the court may impose; or
(x ) to comply with all conditions set forth in the Order Setting Conditions of Release.

Type of Bond
( X } C1) This is a personal recognizance bond.

( X ) (2) This is an unsecured bond of $100,000.00. ( xX ) Cosignedby_ 2 FRP.

(  ) @) This is a secured bond of , secured by:

( ) @ , in cash deposited with the court.

(  ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
(describe the cash or other property, including claims on it — such as a lien, mortgage, or loan — and attach proof of
ownership and value):

If this bond is secured by real property, documents to protect the secured interest may be filed of record.

() (c) abail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):

( — } (d) Cosigned by FRP,

Forfeiture or Release of the Bond

Forfeiture of the Bond, This appearance bond may be forfeited if the defendant does not comply with the above
agreement, The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court

may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.

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25 CR 287

AO 98 (Rev. 12/11) Appearance Bond

Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

Declarations

Ownership of the Property. 1, the defendant — and each surety — declare under penalty of perjury that:

(1) all owners of the property securing this appearance bond are included on the bond;

(2) the property is not subject to claims, except as described above; and

(3) I will not sell the property, aliow further claims to be made against it, or do anything to reduce its value
while this appearance bond is in effect.

Acceptance. I, the defendant — and each surety — have read this appearance bond and have cither read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond.

I, the defendant — and each surety — declare under penalty of perjury that this information is true. (See 28 U.S.C. § 1746.)

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Date: 06/25/2025 f UY taf? por Le
Defendant's Signature Ashanti Washington Jnerpreter'
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AO 199A (Rev. 06/§9) Order Setting Conditions of Release

UNITED STATES DISTRICT COURT
for the

Southern District of New York

United States of America
v.

. . Case No. 25 CR 287
Ashanti Washington

Defendant
ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:
(1) The defendant must not violate federal, state, or local law while on release.
(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C, § 40702.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at:

Place

on

Date and Time

If blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond, if ordered.

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AO 199B (Rev. 09/24) Additional Conditions of Release Ashanti Washington 25 CR 287

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ADDITIONAL CONDITIONS OF RELEASE

Pursuant to £8 U.S.C. § 3142{e}(1(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
appearance of the person as required and the safety of any other person and the community.

iT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

(F1) (6) The defendant is placed in the custody of:
Person or organization

Address {only if above is an organization)
City and state Tel. No.

who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian’s custody.

Signed:

Custodian Date

(H]) (7 The defendant must:

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submit to supervision by and report for supervision to the PRETRIAL SERVICES FOR C] Regular, CI Strict; LY] As Directed

telephone number , 00 later than
continue or actively seek employment.
continue or start an education program.

surrender any passport to: PRETRIAL SERVICES

not obtain a passport or other international travel document.
abide by the following restrictions on personal association, residence, or travel: SDNY/EDNY

avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
including: Defendant must avoid all contact, direct or indirect, Kevin Perez, members of Kevin Perez's family,

Michael Ashley, Jeffrey Oster and Jose Diaz

get medical or psychiatric treatment:

return to custody each at o'clock after being released at o’clock for employment, schooling,
or the following purposes:

maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers

necessary.

not possess a firearm, destructive device, or other weapon.

not use aleohol ( [7] ) at all ( } excessively,

not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed

medical practitioner.

submit to testing for a prohibited substance, if required by the pretrial services office or supervising officer. Testing may be used with

random frequency and may include urine testing, wearing a sweat patch, submitting to a breathalyzer, and/or any other form of

prohibited substance screening or festing, The defendant must sot obstruct, attempt to obstruct, or tamper with the efficiency and

accuracy of substance screening or testing of prohibited substances.

participate in a program of inpatient or outpatient substance use treatment, if directed by the pretrial services office or supervising

officer.

participate in the remote alcohol testing program using continuous electronic alcohol testing and comply with its requirements as

directed, including not consuming alcohol.

( (1) pay all or part of the cost of remote alcohol testing, including equipment loss or damage, based upon your ability to pay, as
determined by the pretrial services or supervising officer.

participate in the location monitoring program and comply with the requirements, as directed in subsections i, ii, and iti.
i. Following the location restriction component (cheek one):

(E]) (1) Curfew. You are restricted to your residence every day (T ) from to ,or(E]} as
directed by the pretrial services office or supervising officer; or

(E71) 2} Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
medical, substance use, or mental health treatment; attorney visits, court appearances; court-ordered obligations; activities
approved by the court; or essential activities approved in advance by the pretrial services office or supervising officer; or

(FJ) G) Home Incarceration. You are restricted to 24-hour-a-day lockdown at your residence except for medical necessities and
court appearances or activities specifically approved by the court; or

(EJ) (4) Stand-Alone Monitoring, You have no residential component (curfew, home detention, or home incarceration) restrictions.
However, you must comply with the location or travel restrictions as imposed by the court. Note: Stand-alone monitoring
should be used in conjunction with global positioning system (GPS) or virtual mobile application technoiogy.

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AO 199B (Rev. 09/24) Additional Conditions of Release Ashanti Washington 25 CR 287

ADDITIONAL CONDITIONS OF RELEASE

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(ii) submit to the following location monitoring technology (check one):

(7) G1) Location monitoring technology as directed by the pretrial services or supervising officer; or

(E51) (2) GPS; or

(EJ) (3) Radio Frequency; or

(E1) (4) Voice Recognition; or

(10) (5) Virtual Mobile Application. You must allow the pretrial services or supervising officer to conduct initial and periodic
inspections of the mobile device and mobile application to verify that 1) the monitoring software is functional, 2} the
required configurations (c.g., locational services) are unaltered, and 3) no efforts have been made to alter the mobile
application.

(iii), (£7) ) pay all or part of the cost of location monitoring, including equipment loss or damage, based upon your ability to pay, as
determined by the pretrial services or supervising officer

(CQ) (2) report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, including arrests,
questioning, or traffic stops.

(1) @)

Agreed conditions of release: $100,000 personal recognizance bond; To be co-signed by two (2) financially
responsible person; Travel restricted SDNY/EDNY; Surrender travel documents and no new applications; Pretrial
Supervision: As directed by PTS; Stand alone monitoring; Def. to continue or seek employment; Defendant must
avoid all contact, direct or indirect, with Kevin Perez, members of Kevin Perez's family, Michael Ashley, Jeffrey
Oster and Jose Diaz; Def. to be released on own signature; Remaining conditions to be met by: 7/11/2025

Defense Counsel Name: Robert Soloway for Dawn Florio

Defense Counsel Telephone Number: 947-723-4975

Defense Counse! Email Address:

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AO 199C (Rev, 09/08) Advice of Penalties

ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT: Ashanti Washington Case No. 25 CR 287
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.¢., in addition to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony —- you will be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor — you will be fined not more than $100,000 or imprisoned not more than one year, or both,

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive, In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

l acknowledge that I am the defendant in this case and that 1 am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. | am aware of the penalties and sanctions set forth above.

fo?

Date: 06/25/2025 ® Obit fon!

Defendant’s Signauwe Ashanti Washington
[_] DEFENDANT RELEASED

City and State

Directions to the United States Marshal

( ) The defendant is ORDERED released after processing.
) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant

has posted bond and/or complied with all other conditions for release. EH still in custody, the defendant must be produced before
the appropriate judge at the time and place specified.

Date: 6/25/2025

Judicial Officer’s Signature _
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AUSA's Signatwe Ni Qian / Michael Herman

DISTRIBUTION: COURT DEFENDANT PRETRIALSERVICE U.S.ATTORNEY U.S. MARSHAL

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Case 1

AO 199C (Rev. 09/08} Advice of Penalties

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